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                        UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION

IN RE:                                          : CASE NO: 18-58056-BEM
                                                : CHAPTER: 13
                                                :
SHERLINDA KEI ROBERTS                           :
    Debtor                                      :
                                                :

                       NOTICE OF APPEARANCE AND REQUEST
                          FOR SERVICE OF ALL NOTICES

       Select Portfolio Servicing, Inc. as servicer for Wilmington Savings Fund Society, FSB,

d/b/a Christiana Trust, as indenture trustee, for the CSMC 2015-RPL3 Trust, Mortgage-Backed

Notes, Series 2015-RPL3 (hereinafter referred to as “Creditor”) hereby enters its appearance and

the law firm of Rubin Lublin, LLC, pursuant to Bankruptcy Rules 2002 and 9010, hereby enters

their appearance as attorneys for Creditor with regard to all matters and proceedings, pleadings

and complaints and adversary proceedings filed in connection with the above-referenced case,

showing counsel's name, office address and telephone number as follows:

                                      Lisa F. Caplan, Esq.
                                      Rubin Lublin, LLC
                              3145 Avalon Ridge Place, Suite 100
                                 Peachtree Corners, GA 30071
                                        (877) 813-0992
                                   lcaplan@rubinlublin.com

and hereby requests that the Clerk of Court add the Law Firm to the mailing matrix for said

Creditor.
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       PLEASE TAKE FURTHER NOTICE that this request is made without submitting to the

jurisdiction of the Court, without waiving service of process or otherwise waiving any rights.


Respectfully submitted,

Rubin Lublin, LLC

By:/s/ Lisa F. Caplan
Lisa F. Caplan
GA State Bar No. 001304
Rubin Lublin, LLC
3145 Avalon Ridge Place, Suite 100
Peachtree Corners, GA 30071
(877) 813-0992
lcaplan@rubinlublin.com
Attorney for Creditor



                                    CERTIFICATE OF SERVICE

       This is to certify that I have this day served the foregoing by depositing same in the U.S.
Mail, with adequate postage affixed thereon to the said parties as follows:


Howard P. Slomka, Esq.
Slipakoff & Slomka, PC
Overlook III - Suite 1700
2859 Paces Ferry Rd, SE
Atlanta, GA 30339

Mary Ida Townson, Trustee
Chapter 13 Trustee
191 Peachtree Street, NE
Suite 2200
Atlanta, GA 30303

This 16th day of May, 2018

/s/ Lisa F. Caplan
Lisa F. Caplan
GA State Bar No. 001304
Rubin Lublin, LLC
3145 Avalon Ridge Place, Suite 100
Peachtree Corners, GA 30071
(877) 813-0992
lcaplan@rubinlublin.com
Attorney for Creditor
